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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

IN RE: Criminal Cases

     This matter is before the Court upon the Court's own motion:

     IT IS HEREBY ORDERED that government's exhibits in the case listed below
are to be returned to the United States Attorney for appropriate disposition.


     CASE NUMBER            CAPTION                                HEARING DATE

     CR88-0-33        USA v. John McCabe                           01/14/94
     4:93cr3035       USA v. Eric Moore and                        03/31/93
       (93-7M)               Craig Robinson
     4:97cr3033       USA v. Juan Esparza-Ramirez        03/25/02
     4:98cr3005       USA v. Alberto T. Sanchez          02/03/98
     4:00cr16         USA v. Arnoldo Bojorquez-Zazueta   08/03/01
     4:00cr94         USA v. Barbara Vopnford            08/12/03
     4:00cr153        USA v. Bruce Miller                10/03/01
     4:00cr281        USA v. Donald Lupino               06/21/01
     4:00cr3003       USA v. Andrew Straughn             07/06/05
     4:00cr3014       USA v. John Fellers                04/20/00; 1/8 thru
                                                         1/11/01; 04/13/01
     4:00cr3035       USA v. Jose Espino                 12/11/01
     4:00cr3052       USA v. Valentin Gomez              11/08/00
     4:00cr3070       USA v. Cordell Sims                1/8 thru 1/19/01;
                                                         06/15/01
     4:00cr3076       USA v. Michael Shirley             05/31/01
     4:00cr3079       USA v. Ruben Cantalan-Castarena & 12/05/00 and
                             Sergio Infante-Orozio       6/4 thru 6/8/01
     4:00cr3083       USA v. James Ross                  01/11/01
     4:00cr3085       USA v. Tarra Arcos                 11/27/00
     4:00cr3091       USA v. Gregory Syslo & Denell Syslo 3/05/01
     4:00cr3097       USA v. Jansen Yarbrough            04/25/03


     DATED this 8th day of February, 2006.



                                        BY THE COURT

                                        s/ RICHARD G. KOPF
                                        United States District Judge
